            Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :

                      v.                      :     MAGISTRATE NO. 20 - 1026

DAVID ELMAKAYES                               :


  GOVERNMENT’S UNOPPOSED MOTION FOR CONTINUANCE PURSUANT TO
         TITLE 18, UNITED STATES CODE, SECTION 3161(h)(7)(A)


       The United States of America, by and through its attorneys, William M. McSwain,

United States Attorney for the Eastern District of Pennsylvania, and Joseph A. LaBar, Assistant

United States Attorney, moves for a 30-day continuance of the time within which an Indictment

or Information must be filed in this case, and in support of this motion states as follows:

       1.      On June 17, 2020, a Complaint was filed by the United States Attorney’s Office

charging defendant David Elmakayes with violations of Title 18, United States Code, Sections

844(i)(maliciously damaging property used in interstate commerce by means of an explosive)

and 922(g)(1), 924(e) (felon in possession of a firearm, armed career criminal).

       2.      On June 18, 2020, the defendant was arrested.

       3.      The Speedy Trial Act, 18 U.S.C. § 3161(b), requires that an Indictment or

Information be filed within 30 days from the date on which the defendant was arrested, in this

case by July 18, 2020.

       4.      On March 13, 2020, the Chief Judge of this Court entered a Standing Order

providing that, as a result of the emergency presented by the coronavirus disease COVID-19, all

civil and criminal jury trials scheduled to begin between March 13, 2020, and April 13, 2020,
             Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 2 of 9




before any district or magistrate judge in any courthouse in the Eastern District of Pennsylvania

are continued pending further Court order. The Chief Judge described actions of public health

authorities to limit the spread of the virus, and further described the impact of COVID-19 on the

availability of jurors. On March 18, 2020, the Chief Judge entered a supplemental Standing

Order, stating in part:

                Developments during the short time since the March 13, 2020, Standing Order
        was issued reinforce the Court’s finding, with regard to criminal jury trials, that the ends
        of justice served by granting a continuance outweigh the best interest of the public and
        each defendant in a speedy trial. On March 15, 2020, the Centers for Disease Control and
        Prevention issued interim guidance recommending the cancelation of gatherings of more
        than 10 people for organizations that serve higher-risk populations. The following day,
        the President of the United States issued guidance recommending that people not gather
        in groups of more than 10 people for the ensuing 15 days. These developments further
        impede the Court’s ability to proceed with jury selection and jury trials at this time. In
        addition, the Bureau of Prisons’ suspension of most legal visitation for a 30-day period
        beginning March 13, 2020, will limit defense counsel’s ability to effectively prepare for
        trial.

                Because the developments regarding COVID-19 in this district outlined above
        and in the March 13, 2020, Standing Order also adversely affect the Court’s ability to
        maintain the continued operation of grand juries, it is ORDERED the deadlines for filing
        an indictment or information set forth in 18 U.S.C. § 3161(b) and (d)(1) are
        CONTINUED in every matter in this district. The Court finds the ends of justice served
        by granting a continuance outweigh the best interest of the public and each defendant in a
        speedy trial. The time period of any continuance entered as a result of this Standing Order
        shall therefore be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A). Any
        motion by a criminal defendant seeking an exception to this Standing Order for the
        purpose of exercising the defendant’s speedy trial rights shall be referred to the Chief
        Judge.

        5.      On April 10, 2020, the Chief Judge issued an additional Standing Order extending

the suspension of grand jury meetings through May 31, 2020. In explaining his Order, the Chief

Judge described the worsening conditions caused by the COVID-19 outbreak since the entry of

the earlier standing orders, the additional restrictions imposed by public health officials in

response to those conditions, and the unavoidable impact of those circumstances on the ability to

conduct grand jury proceedings. The April 10 order stated:

                                                -2-
            Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 3 of 9




       Due to the unavailability of a grand jury in this district during this period, the deadlines
       for filing an indictment or information under 18 U.S.C. § 3161(b) and (d)(1), which were
       previously continued in the March 18 Standing Order, shall remain continued through
       May 31, 2020. The Court finds the ends of justice served by granting a continuance
       outweigh the best interest of the public and each defendant in a speedy trial. Because of
       the temporary unavailability of a grand jury in this district due to ongoing COVID-19
       public health emergency, it is unreasonable to expect return and filing of an indictment
       within the period specified under § 3161(b). See 18 U.S.C. § 3161(h)(7)(B)(iii). In
       computing the time within which an indictment or information must be filed under 18
       U.S.C. § 3161(b) or (d)(1), the period of time from March 18, 2020, through May 31,
       2020, shall be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), in all
       cases in this district. The Court may extend the period of exclusion as circumstances
       warrant. Any motion by a criminal defendant seeking an exception to this Standing Order
       for the purpose of exercising the defendant’s speedy trial rights shall be referred to the
       Chief Judge.

       6.      On June 30, 2020, the Chief Judge issued another standing order further

continuing the deadlines for filing an indictment or information, stating in part:

               “ Because grand juries continue to be unavailable in this district at this time due to
       the current public health situation, the deadlines for filing an indictment or information
       under 18 U.S.C. § 3161(b) and (d)(1), which were previously continued in the Standing
       Orders issued on March 18, April 10, and May 29, shall remain continued through the
       earlier of July 31, 2020, or the date the requisite quorum of grand jurors is obtained to
       consider the particular matter. The Court finds the ends of justice served by granting a
       continuance outweigh the best interest of the public and each defendant in a speedy trial.
       In light of the temporary unavailability of a grand jury in this district due to the ongoing
       COVID-19 public health emergency, it is unreasonable to expect return and filing of an
       indictment within the period specified under § 3161(b). See 18 U.S.C. §
       3161(h)(7)(B)(iii). In computing the time within which an indictment or information must
       be filed under 18 U.S.C. § 3161(b) or (d)(1), the additional period of time from June 30,
       2020, through the earlier of July 31, 2020, or the date the requisite quorum of grand
       jurors is obtained to consider the particular matter shall be excluded under the Speedy
       Trial Act, 18 U.S.C. § 3161(h)(7)(A), in all cases in this district.

       7.      As the Chief Judge found, the crisis presented by COVID-19 affects the orderly

operation of the criminal justice system. Restrictions on public movement impede the ability of

law enforcement officials to gather evidence, meet with witnesses, and present evidence to a

grand jury, and, as the Chief Judge stated, limit the ability of defense counsel to meet with clients

and otherwise prepare a defense. In this particular case, the government estimates that it requires


                                                -3-
            Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 4 of 9




the continuance requested here in order to complete its investigation and the presentation of

evidence to a grand jury.

       8.      Additionally, the government and the defendant are engaging in discussions to

resolve this matter through a non-trial disposition.

       9.      Counsel for the defendant has represented that the defendant does not oppose the

government’s request for a 30-day continuance.

       WHEREFORE, for the above reasons, it is respectfully submitted that the ends of justice

will be served best by the granting of a continuance of 30 days of the time within which to file an

Indictment or Information in this case, that is, until August 18, 2020.

                                              Respectfully submitted,

                                              WILLIAM M. McSWAIN
                                              United States Attorney


                                              /s Joseph A. LaBar
                                              JOSEPH A. LaBAR
                                              Assistant United States Attorney




                                                -4-
            Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 5 of 9




                         IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :

                     v.                      :     MAGISTRATE NO. 20- 1026

DAVID ELMAKAYES                              :



                                           ORDER

       AND NOW, this First day of July, 2020, the Court finds as follows:

       1.      On June 17, 2020, a Complaint was filed by the United States Attorney’s Office

charging defendant David Elmakayes with violations of Title 18, United States Code, Sections

844(i)(maliciously damaging property used in interstate commerce by means of an explosive),

and 922(g)(1), 924(e) (felon in possession of a firearm, armed career criminal).

       2.      On June 18, 2020, the defendant was arrested.

       3.      The Speedy Trial Act, 18 U.S.C. § 3161(b), requires that an Indictment or

Information be filed within 30 days from the date on which the defendant was arrested, in this

case by July 18, 2020.

       4.      On March 13, 2020, the Chief Judge of this Court entered a Standing Order

providing that, as a result of the emergency presented by the coronavirus disease COVID-19, all

civil and criminal jury trials scheduled to begin between March 13, 2020, and April 13, 2020,

before any district or magistrate judge in any courthouse in the Eastern District of Pennsylvania

are continued pending further Court order. The Chief Judge described actions of public health

authorities to limit the spread of the virus, and further described the impact of COVID-19 on the
             Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 6 of 9




availability of jurors. On March 18, 2020, the Chief Judge entered a supplemental Standing

Order, stating in part:

                Developments during the short time since the March 13, 2020, Standing Order
        was issued reinforce the Court’s finding, with regard to criminal jury trials, that the ends
        of justice served by granting a continuance outweigh the best interest of the public and
        each defendant in a speedy trial. On March 15, 2020, the Centers for Disease Control and
        Prevention issued interim guidance recommending the cancelation of gatherings of more
        than 10 people for organizations that serve higher-risk populations. The following day,
        the President of the United States issued guidance recommending that people not gather
        in groups of more than 10 people for the ensuing 15 days. These developments further
        impede the Court’s ability to proceed with jury selection and jury trials at this time. In
        addition, the Bureau of Prisons’ suspension of most legal visitation for a 30-day period
        beginning March 13, 2020, will limit defense counsel’s ability to effectively prepare for
        trial.

                Because the developments regarding COVID-19 in this district outlined above
        and in the March 13, 2020, Standing Order also adversely affect the Court’s ability to
        maintain the continued operation of grand juries, it is ORDERED the deadlines for filing
        an indictment or information set forth in 18 U.S.C. § 3161(b) and (d)(1) are
        CONTINUED in every matter in this district. The Court finds the ends of justice served
        by granting a continuance outweigh the best interest of the public and each defendant in a
        speedy trial. The time period of any continuance entered as a result of this Standing Order
        shall therefore be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A). Any
        motion by a criminal defendant seeking an exception to this Standing Order for the
        purpose of exercising the defendant’s speedy trial rights shall be referred to the Chief
        Judge.

        5.      On April 10, 2020, the Chief Judge issued an additional Standing Order extending

the suspension of grand jury meetings through May 31, 2020. In explaining his Order, the Chief

Judge described the worsening conditions caused by the COVID-19 outbreak since the entry of

the earlier standing orders, the additional restrictions imposed by public health officials in

response to those conditions, and the unavoidable impact of those circumstances on the ability to

conduct grand jury proceedings. The April 10 order stated:

        Due to the unavailability of a grand jury in this district during this period, the deadlines
        for filing an indictment or information under 18 U.S.C. § 3161(b) and (d)(1), which were
        previously continued in the March 18 Standing Order, shall remain continued through
        May 31, 2020. The Court finds the ends of justice served by granting a continuance
            Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 7 of 9




       outweigh the best interest of the public and each defendant in a speedy trial. Because of
       the temporary unavailability of a grand jury in this district due to ongoing COVID-19
       public health emergency, it is unreasonable to expect return and filing of an indictment
       within the period specified under § 3161(b). See 18 U.S.C. § 3161(h)(7)(B)(iii). In
       computing the time within which an indictment or information must be filed under 18
       U.S.C. § 3161(b) or (d)(1), the period of time from March 18, 2020, through May 31,
       2020, shall be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), in all
       cases in this district. The Court may extend the period of exclusion as circumstances
       warrant. Any motion by a criminal defendant seeking an exception to this Standing Order
       for the purpose of exercising the defendant’s speedy trial rights shall be referred to the
       Chief Judge.

       6.      On June 30, 2020, the Chief Judge issued another standing order further

continuing the deadlines for filing an indictment or information, stating in part

               “Because grand juries continue to be unavailable in this district at this time due to
       the current public health situation, the deadlines for filing an indictment or information
       under 18 U.S.C. § 3161(b) and (d)(1), which were previously continued in the Standing
       Orders issued on March 18, April 10, and May 29, shall remain continued through the
       earlier of July 31, 2020, or the date the requisite quorum of grand jurors is obtained to
       consider the particular matter. The Court finds the ends of justice served by granting a
       continuance outweigh the best interest of the public and each defendant in a speedy trial.
       In light of the temporary unavailability of a grand jury in this district due to the ongoing
       COVID-19 public health emergency, it is unreasonable to expect return and filing of an
       indictment within the period specified under § 3161(b). See 18 U.S.C. §
       3161(h)(7)(B)(iii). In computing the time within which an indictment or information must
       be filed under 18 U.S.C. § 3161(b) or (d)(1), the additional period of time from June 30,
       2020, through the earlier of July 31, 2020, or the date the requisite quorum of grand
       jurors is obtained to consider the particular matter shall be excluded under the Speedy
       Trial Act, 18 U.S.C. § 3161(h)(7)(A), in all cases in this district.

       7.      As the Chief Judge found, the crisis presented by COVID-19 affects the orderly

operation of the criminal justice system. Restrictions on public movement impede the ability of

law enforcement officials to gather evidence, meet with witnesses, and present evidence to a

grand jury, and, as the Chief Judge stated, limit the ability of defense counsel to meet with clients

and otherwise prepare a defense. In this particular case, the government estimates that it requires

the continuance requested here in order to complete its investigation and the presentation of

evidence to a grand jury.
             Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 8 of 9




       8.       Additionally, the government and the defendant are engaging in discussions to

resolve this matter through a non-trial disposition.

       9.       Counsel for the defendant has represented that the defendant does not oppose the

government’s request for a 30-day continuance.

       10.      This Court agrees with and adopts the findings of the Chief Judge, and agrees

with the government’s representations regarding the impact of the COVID-19 crisis on this case.

The Court therefore finds that these reasons cause the ends of justice to best be served by

granting a further continuance in this matter, and that these reasons outweigh the interests of the

public and the defendant in a speedy trial.

       WHEREFORE, in accordance with Title 18, United States Code, Section 3161(h)(7)(A),

it is hereby ORDERED that the time in which an Indictment or Information must be filed in the

above action is continued for a period of 30 additional days, until August 18, 2020.

                                              BY THE COURT:



                                              /s David R. Strawbridge___________________
                                              HONORABLE DAVID R. STRAWBRIDGE
                                              United States Magistrate Judge
          Case 2:20-cr-00218-CFK Document 9 Filed 07/01/20 Page 9 of 9




                                   CERTIFICATE OF SERVICE

       I hereby certify that this pleading has been served on the Filing User identified below

through the Electronic Case Filing (ECF) system:

                             James Joseph McHugh, Jr. Esquire
                             Defender Association of Philadelphia
                             601 Walnut Street - Suite 540 West
                             Curtis Building Independence Square West
                             Philadelphia, PA 19106



                                             /s/ Joseph A. LaBar
                                             JOSEPH A. LaBAR
                                             Assistant United States Attorney


Dated: July 1, 2020.
